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                 IN THE UNITED STATES COURT DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


URBAN SUSTAINABILITY DIRECTORS
NETWORK, OAKVILLE BLUEGRASS
COOPERATIVE, AGROECOLOGY                            Case No. 1:25-cv-01775-BAH
COMMONS, PROVIDENCE FARM
COLLECTIVE CORP., and INSTITUTE
FOR AGRICULTURE AND
TRADE POLICY,

       Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
AGRICULTURE, BROOKE ROLLINS, in
her official capacity as Secretary of the
United States Department of Agriculture,
DEPARTMENT OF GOVERNMENT
EFFICIENCY, AMY GLEASON, in her
official capacity as Acting Administrator of
the Department of Government Efficiency,
UNITED STATES FOREST SERVICE,
TOM SCHULTZ, in his official capacity as
Forest Service Chief, NATURAL
RESOURCES CONSERVATION SERVICE,
AUBREY J.D. BETTENCOURT, in her
official capacity as Chief of the Natural
Resources Conservation Service, NATIONAL
INSTITUTE OF FOOD AND
AGRICULTURE, JAYE L. HAMBY, in his
official capacity as Director of National
Institute of Food and Agriculture, FARM
SERVICE AGENCY, WILLIAM BEAM, in
his official capacity as Administrator of the
Farm Service Agency, AGRICULTURAL
MARKETING SERVICE, and ERIN
MORRIS, in her official capacity as
Administrator of Agricultural Marketing
Service,

       Defendants.

            PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

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        Plaintiffs Urban Sustainability Directors Network, Oakville Bluegrass Cooperative,

Agroecology Commons, Providence Farm Collective Corp., and Institute for Agriculture and

Trade Policy respectfully move, pursuant to Federal Rule of Civil Procedure 65 and this Court’s

inherent equitable powers, for a preliminary injunction. For the reasons presented in the

accompanying statement of points and authorities, the Court should enter an order that enjoins

Defendants’ policy and practice of unlawfully terminating Plaintiffs’ and others’ grants and that

restores the status quo ante, as well as any other relief the Court deems proper. The specific

contours of the relief that Plaintiffs seek are provided in the accompanying proposed order.

        Plaintiffs meet the standard for preliminary relief because they are likely to prevail on the

merits of numerous claims, absent an injunction they will suffer irreparable harm, the equities

favor an injunction, and an injunction is in the public interest. Specifically, all Plaintiffs are likely

to succeed on the merits of their claims that Defendants’ challenged policy and practice of

terminating grant awards pursuant to 2 C.F.R. § 200.340(a)(4) based on new agency priorities

violates the Administrative Procedure Act and the Due Process Clause of the U.S. Constitution.

Plaintiffs Urban Sustainability Directors Network and Agroecology Commons are also likely to

prevail on their claims that Defendants’ conduct violates the Constitution’s separation of powers,

is contrary to statutory mandates, and is ultra vires. Without an injunction, all Plaintiffs will suffer

irreparable harm because Defendants’ policy and practice is undermining Plaintiffs’ existing

programs, as well as the livelihoods of their staff and the communities they serve. Equites and the

public interest favor an injunction to prevent those harms and to ensure the government follows

the law.

        Plaintiffs also request that the Court exercise its discretion to dispense with requiring

Plaintiffs to post a bond to obtain this relief. As detailed in the attached points and authorities, a



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bond is unwarranted because it would undermine judicial relief and contravene the law, which

requires Defendants to restore funding to Plaintiffs. Numerous courts have held similarly.

       Plaintiffs have attempted to fulfill their meet and confer obligations. No attorney for

Defendants has put in an appearance, but Plaintiffs have contacted the U.S. Attorney’s Office for

the District of Columbia, the Federal Programs Branch of the U.S. Department of Justice, and the

government attorneys in a similar matter against some of these same Defendants. The government

attorney in the similar matter has responded that he does not know who is handling this case, but

stated assigned counsel will enter an appearance in a timely fashion. Plaintiffs assume this motion

will be opposed, but also request that should Defendants fail to provide a timely opposition, the

Court exercise its discretion to grant ex parte relief.




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Dated this 26th day of June 2025.

Respectfully submitted,

 /s/ Holly Bainbridge
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